                     Case No. 23-1374 & 23-1880

               UNITED STATES COURT OF APPEALS
                   FOR THE EIGHTH CIRCUIT

           BROOKE HENDERSON and JENNIFER LUMLEY,

                                           Plaintiffs-Appellants,
                                    v.
          SCHOOL DISTRICT OF SPRINGFIELD R-12, et al.,
                                                   Appellees.

    BRIEF AMICUS CURIAE OF GOLDWATER INSTITUTE,
KANSAS JUSTICE INSTITUTE, MISSISSIPPI JUSTICE INSTITUTE,
  AND SHOW ME INSTITUTE IN SUPPORT OF APPELLANTS
           AND REVERSAL OF ATTORNEY FEES

             On Appeal from the United States District Court
             for the Western District of Missouri - Springfield
       Case No. 6:21-cv-03219, Hon. M. Douglas Harpool, presiding

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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 29(a)(4)(A) of the Federal Rules of Appellate Procedure,

Amici Curiae Goldwater Institute, nonprofit corporations organized under the laws

of Arizona, Kansas Justice Institute, Mississippi Justice Institute, Show Me

Institute, hereby state that they have no parent companies, subsidiaries, or affiliates

that have issued shares to the public.




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                 IDENTITY AND INTEREST OF AMICI CURIAE

       The identity and interest of amici is set forth in the accompanying motion for

leave to file.

             INTRODUCTION AND SUMMARY OF ARGUMENT

       The District Court erred in holding that no chill existed due to the fact that

Plaintiffs either refrained from speaking, or did so but in the end experienced no

adverse employment consequences. Those factors are irrelevant. The question is

whether a reasonably prudent person would have feared to express disagreement,

and it is obvious that any rational person in Plaintiffs’ position would have. To

understand why, one must consider both the nature of the “anti-racism” (AR)

theory that has become fashionable in recent years and the nature of the

propaganda sessions to which public employees such as the Plaintiffs are now

routinely subjected.

       AR posits that all white people are inherently racist, or occupy a position of

“privilege,” and consequently have a moral obligation to renounce that “privilege”

and to undertake at all times to eliminate their inherent—indeed, subconscious—

racism. On those premises, to disagree with AR is itself deemed racist. Indeed,

AR advocates expressly proclaim this principle. See, e.g., Kendi, How To Be An

Antiracist 10 (2023) (“The claim of ‘not racist’ neutrality is a mask for being

racist.”).


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      Obviously, to be deemed a racist is to risk severe penalties and ostracism,

especially for public school employees. In many recent high-profile cases,

teachers opposing AR theory have been terminated for that—but so have teachers

practicing AR theory. No wonder that employees feel they aren’t allowed to hold

or express pro-“color-blindness” opinions in such training sessions. See, e.g.,

Dobbin & Kalev, Why Doesn’t Diversity Training Work?, 10 Anthropology Now

48 (2018).

      Anybody in Plaintiffs’ position would have thought exercising their First

Amendment rights by openly disagreeing with the AR theory being promulgated

would result in severe repercussions. That simply is a “chilling effect.” Garcia v.

City of Trenton, 348 F.3d 726, 729 (8th Cir. 2003).

      Even if that weren’t true, the circumstances do not warrant the District

Court’s finding of frivolousness, or its consequent awarding of fees. The Civil

Rights laws, including 42 U.S.C. § 1988, were designed to encourage people to sue

to vindicate the principle of color-blindness, which is “a policy that Congress

considered of the highest priority.” Newman v. Piggie Park Enters., Inc., 390 U.S.

400, 402 (1968). Yet AR expressly rejects color-blindness. It labels color-

blindness racist and instructs people to treat others differently on account of race,

in violation of the civil rights laws. See, e.g., Kendi, Antiracist, supra at 11 (“The

language of color blindness—like the language of ‘not racist’—is a mask to hide


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when someone is being racist.”). That, plus the fact that training sessions such this

one are designed to bring intense personal and professional pressure on school

employees to conform to AR doctrine, and to reject the nation’s anti-

discrimination principles, means the Plaintiffs were well warranted in bringing this

case. Penalizing citizens who in good faith seek to challenge the constitutionality

of government action contradicts the policy behind the civil rights laws and deters

meritorious public interest litigation that seeks to support this nation’s policy of

race-neutral treatment.

                                    ARGUMENT

I.      Plaintiffs’ speech was chilled by government marshalling pressure to
        conform to AR doctrine, and to silence dissent.

        The District Court found this case frivolous on the grounds that the Plaintiffs

experienced no injury, and that this lawsuit was only a “political” dispute.

Henderson v. Sch. Dist. of Springfield R-12, No. 6:21-CV-03219-MDH, 2023 WL

170594, at **2, 6 (W.D. Mo. Jan. 12, 2023). That was reversible error. The injury

here—the chilling effect on Plaintiffs’ First Amendment rights—is quite clear, and

the District Court waved it away based on misapprehensions about how both

“chill” theory and AR doctrine work.




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      A.     A chill exists where a reasonable person would have refrained
             from speaking in order to avoid reprisals.

      The test in a speech-chill case is an objective one: whether, under the

circumstances, “a person of ordinary firmness” or “ordinary prudence” would have

believed that exercising First Amendment rights would incur penalty or

punishment. Garcia, 348 F.3d at 729. “The question,” this Court said in Garcia,

“is not whether the plaintiff herself was deterred” from speaking, but whether a

reasonable person might have been. Id. (emphasis added). That means a person

can still bring a chill claim even if she went ahead and spoke out. And, in fact, the

plaintiff in Garcia did continue speaking, but could still sue because a person of

ordinary prudence would have declined to speak.

      That’s the rule in most circuits: even someone “who perseveres despite

governmental interference” can still challenge the constitutionality of a speech

restriction. Eaton v. Meneley, 379 F.3d 949, 955 (10th Cir. 2004); accord,

Mitchell v. Horn, 318 F.3d 523, 530 (3d Cir. 2003); Thaddeus–X v. Blatter, 175

F.3d 378, 396 (6th Cir. 1999) (en banc); Bart v. Telford, 677 F.2d 622, 625 (7th

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Toolasprashad v. Bureau of Prisons, 286 F.3d 576, 585 (D.C. Cir. 2002); Bennett

v. Hendrix, 423 F.3d 1247, 1251–52 (11th Cir. 2005).



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      Here the District Court acknowledged that attendance at the training session

was “mandatory,” and that the Plaintiffs “had to attend [it] to receive professional

development credit and compensation.” 2023 WL 170594 at **1, 6, 9. Any

reasonable person in their position would have thought participation was

compulsory and that disagreement would incur penalty. See Kilborn v. Amiridis,

No. 22 C 475, 2023 WL 2058061, at *6 (N.D. Ill. Feb. 15, 2023) (forcing a college

professor to attend sensitivity training that required an affirmative commitment to

diversity was likely “compelled speech.”). The District Court found that Plaintiffs

ended up “suffer[ing] no adverse employment action,” 2023 WL 170594 at *1, but

that’s not the question. The question is whether they would reasonably have

believed that they would suffer adverse action from refusing to participate or from

expressing dissent.

      In Hendrix, the plaintiffs sued the sheriff’s office for engaging in an

intimidation campaign against them for supporting a referendum that the sheriff’s

department opposed. Among other things, officers targeted them for surveillance,

pulled them over and ticketed them without justification, and even obtained

warrants for their arrest on baseless charges. 423 F.3d at 1249. But the plaintiffs

continued to speak and to contribute to political causes. Id. The sheriff’s office

argued that no liability could apply unless the plaintiffs proved they had “actually

[been] chilled in the exercise of their First Amendment rights,” but the court


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rejected that argument, explaining that under the objective chill analysis, even

someone who persists in speaking may sue if the complained-of conduct would

have deterred an ordinary person from speaking. Id. at 1251–52. See also

Rodriguez v. Serna, No. 1:17-cv-01147-WJ-LF, 2019 WL 2340958, at *8 (D.N.M.

June 3, 2019) (plaintiff prevailed on chill theory even though she was not

dissuaded from speaking).

      Here, the District Court said the Plaintiffs experienced no “chilling effect”

because they actually expressed disagreement with AR doctrines being

promulgated, and experienced no “specific” penalty. 2023 WL 170594 at *6. That

is irrelevant. The fact that someone in such an intimidating environment still has

enough courage of her convictions—perhaps, enough foolhardiness—to speak out

despite the risk is not grounds for depriving her of the right to challenge the

government’s effort to silence her. As Bennett said, to hold that someone who

speaks anyway cannot bring a “chill” case would “‘reward’ government officials

for picking on [an] unusually hardy speaker[].” 423 F.3d at 1252. The purpose of

the “chill” theory is to protect the rights of those who are less “hardy” than

Plaintiffs Henderson and Lumley in the face of overwhelming pressure. Yet by

holding that these two lack standing, the District Court deprived those unknown

individuals of the protection that the “chill” doctrine is supposed to provide.




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       The District Court’s reasoning with respect to the “agree” / “disagree” sign

was even more off-base. The record showed that at the training session,

participants were given a sign saying “agree” or “disagree,” and were asked to use

it to indicate their reactions to various AR propositions. Plaintiff Henderson chose

to just always display the “agree” sign even though this was “actually at odds with

her own beliefs” because, as the District Court said, she found it “easier to agree.”

Id. 2023 WL 170594, at *6. Bizarrely, the court said this proved she suffered no

legal injury—when it actually proves the opposite: that her speech was chilled.

The fact that she felt it necessary to say “agree” when she actually disagreed,

because she feared reprisals or harassment if she expressed her true beliefs, is

literally a chilling effect. She chose to self-censor. That’s just what a chilling

effect is.

       True, the chill test is not subjective. Laird v. Tatum, 408 U.S. 1 (1972), said

a person’s fear, standing alone, is insufficient injury for a “chill” case. Instead, the

test is a reasonable person standard: would a person of “ordinary prudence” in the

Plaintiffs’ position have had legitimate reason to believe that expressing

disagreement would incur a penalty? Garcia, 348 F.3d at 729.

       It is patently obvious that the answer here is yes. Any rational person in the

training session would have refrained from expressing her views that AR doctrine

is irrational and wrong.


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       There is probably no act more fraught in today’s political environment than

for a public school employee to openly disagree with AR doctrine. To do so is to

risk extreme forms of recrimination, including the loss of professional

opportunities, social ostracism, widespread publicity and shaming, and—

obviously—the potentially career-ending accusation of racism.

       Consider the case of Kali Fontella. See generally Teacher Exposes CRT: My

Job Was No Longer About Teaching, Goldwater Institute: In Defense of Liberty

Blog (May 23, 2022).1 A teacher in Salinas, California, Fontanilla was shocked

when she discovered that she was required to teach AR theory—including giving

students “a ‘privilege quiz’ where students would compare and contrast their

gender, race, class, and sexual orientation with those of their classmates,” and

conducting “a mock trial to ‘charge various persons implicated in…genocide

against Native Californians,’…to ‘create a social justice…counter-narrative.’” Id.

She objected—and, as a result, the president of the Salinas School Board labeled

her “anti-people of color” (despite the fact that she is half-Jamaican herself). Id.

Frustrated by the school board’s policy, she quit her job and moved out of the state.

“[T]he ‘guiding principle’ of the curriculum,” she explained “was to

‘critique…white supremacy, racism, anti-blackness…patriarchy…capitalism…and



1
 https://www.goldwaterinstitute.org/teacher-exposes-crt-my-job-was-no-longer-
about-teaching/.
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other forms of power and oppression,’” and the school would tolerate no dissent.

Id.

       Fontanilla’s case is not unusual. A North Carolina teacher named David

Phillips was fired for objecting to the teaching of AR doctrine at his school in

2022. Lanum, North Carolina Professor Claims he was Fired for Criticizing

Critical Race Theory, Files Lawsuit, N.Y. Post (Dec. 22, 2022).2 A Massachusetts

teacher named Kari MacRae was fired in 2021 for posting videos online expressing

opposition to AR theory. Poff, Massachusetts Teacher Fired for Opposing CRT on

TikTok Sues Superintendent and Principal, Wash. Exam’r (Dec. 3, 2021).3 One

California college even fired its director of Diversity, Equity, and Inclusion—a

black woman—because she opposed AR. Quinn, A DEI Director Ousted for

Questioning DEI?, Inside Higher Ed (Mar. 9, 2023).4

       Yet to comply with AR’s demands is also unacceptable. In November, a

white teacher in Texas (whose name was withheld) was fired after he put AR

theory into practice by telling his students that he was a racist because all white

people are racist. In accordance with AR, he told black students “Deep down in



2
  https://nypost.com/2022/12/22/dr-david-phillips-sues-ncgs-claims-he-was-fired-
for-criticizing-critical-race-theory/.
3
  https://www.washingtonexaminer.com/policy/education/massachusetts-teacher-
fired-for-opposing-crt-on-tiktok-sues-superintendent-and-principal.
4
  https://www.insidehighered.com/news/2023/03/10/equity-director-targeted-she-
says-questioning-antiracist-orthodoxy.
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my heart, I’m ethnocentric…. I think everybody thinks that…. I think everybody

is racist at that level.”5 Yet he was terminated. Under such circumstances, it’s

logically impossible for a “person of ordinary prudence” to doubt that expressing a

position on AR at the training session would incur punishment. Garcia, 348 F.3d

at 729.6

       Again, the question before the District Court was not whether Plaintiffs

Henderson and Lumley actually ended up receiving similar treatment, but whether,

going into the required training session, a person of ordinary firmness would have

believed she would suffer a penalty for expressing dissent. Garcia, 348 F.3d at

729. The answer is unquestionably yes.

       B. The chilling effect is built into the very structure of “anti-racist”
          theory.

       “Training” sessions like that at issue here are not places for free and open

discussion. Rather, they are confrontational exercises at which disagreement is not

only unwelcome but treated as a blameworthy aberration.




5
  A video of the incident is available at
https://twitter.com/trtworld/status/1593217890164932608?lang=en.
6
  To be clear, amicus does not deny that schools may dictate the curriculum or limit
teachers’ speech in their capacity as employees. Cf. Urofsky v. Gilmore, 216 F.3d
401 (4th Cir. 2000); Richardson v. Sugg, 448 F.3d 1046, 1061–62 (8th Cir. 2006).
That is not at issue here, however, because this case does not involve curricula or
the Plaintiffs’ speech in their employee capacity; this case concerns Plaintiffs’
individual free speech rights.
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         Research demonstrates that AR “function[s] as a cue that [white employees]

are unwelcome or under-valued,” and that in such training sessions, “contextual

cues signal to [white] individuals that they may be treated poorly, devalued, or

made to feel that members of their group do not belong.” Dover, et al., Members

of High-Status Groups are Threatened by Pro-Diversity Organizational Messages,

62 J. Experimental Psych. 45, 65 (2016). White employees often feel that they “do

not know what to say or how to act” in such a context, id., and often “perceive

[such] programs as offering an unfair advantage to the non-traditional employee,

rather than leveling the playing field for all.” Kulik, et al., The Rich Get Richer, 28

J. Organizational Behavior 753, 754 (2007). “Mandatory participation” in such

sessions “send[s] the message that employees need to change, and the employer

will require it,” which “lead[s] employees to think that commitment to diversity is

being coerced.” Dobbin & Kalev, supra at 51.7

         Whether or not such impressions are warranted in the context of ordinary

anti-discrimination training, they are certainly justified with respect to the AR

movement. That’s because intimidation, pressure, and threats are built into AR’s

structure. AR differs from anti-discrimination principles in that it holds that

disagreement with AR’s theses—including the proposition that all white people are

racist—is “normative violence,” Applebaum, Being White, Being Good 73, 172


7
    https://scholar.harvard.edu/files/dobbin/files/an2018.pdf.
                                           11

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(2010), or a form of “denial[ism] [which] is a fundamental way in which white

people maintain unequal racial power.” DiAngelo, White Fragility 86 (2018). In

other words, disagreeing with AR ideology is automatically deemed a racist act.

       AR’s basic premises are that whites are inherently “privileged” on account

of their race, and that it is morally insufficient for them to not be racists. They are

morally obligated at all times to root out and eliminate their own subconscious

racist attitudes—i.e., they must “striv[e] to undo racism in [their] mind[s],”

including racism of which they are unaware. Deggans, “Not Racist” Is Not

Enough, NPR (Aug. 25, 2020).8 It is essential to this theory that all white people

“have a space and place of privilege,” White Anti-Racism, Learning for Justice,9

and that “there is racism in all of us.” Capatides, The Difference Between Being

Not Racist and Being Antiracist, CBS News (June 25, 2020).10 The Smithsonian,

for example, instructs white people that they “must acknowledge and understand

their privilege [and] work to change their internalized racism.” Talking About

Race: Being Antiracist.11




8
  https://www.npr.org/2020/08/24/905515398/not-racist-is-not-enough-putting-in-
the-work-to-be-anti-racist.
9
  https://www.learningforjustice.org/professional-development/white-antiracism-
living-the-legacy.
10
   https://www.cbsnews.com/news/antiracist-not-racist-difference/.
11
   https://nmaahc.si.edu/learn/talking-about-race/topics/being-antiracist.
                                          12

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      For a white person to deny that she is a racist constitutes—according to AR

theory—a blameworthy refusal to accept responsibility, a refusal which is itself

just another means of perpetuating the inherently racist character of American

society. As Ibram Kendi, the foremost spokesman for this theory, expresses it,

“the problem with being ‘not racist’” is that it “signifies neutrality,” whereas

      there is no neutrality in the racial struggle.... One either believes
      racial inequities are rooted in groups of people, as a racist, or locates
      the roots of racial inequities in power and policies, as an antiracist.
      One either allows racial injustice to persevere, as a racist, or confronts
      racial injustice, as an antiracist. There is no in-between safe space of
      “not racist.” The claim of “not racist” neutrality is a mask for being
      racist.

Antiracist, supra at 10 (emphasis added). Even more relevant to this case, public

school employees are specifically counseled not to speak against the AR dogma

that all white people are racists:

      For fear of being labeled racist, white teachers might profess “I don’t
      see color, I just see children.” This notion is rooted in white
      ideologies of teacher professionalism that proclaims all students
      should be treated equally, but when white teachers profess not to see
      color, what they are doing is performing in fear of being labeled
      “bad,” “racist,” or “unprofessional….” Colorblind pedagogies
      prevent the implementation of anti-racist pedagogies.... Maintaining
      power through fairness and treating everyone equally benefits white
      teachers by portraying them as “good,” but this portrayal of whiteness
      as “good” and performative fear of being “bad” results in the
      marginalization of the lived racial disparities experienced by their
      Students of Color.

Jones, et al., On “Ceding Space”: Pushing Back on Idealized Whiteness to Foster

Freedom for Students of Color, in, Reconceptualizing Social Justice in Teacher
                                          13

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Education 94 (Brown & Jean-Marie eds., 2022) (emphases altered). Thus for a

teacher to assert that she is not a racist is itself a form of racism. See also Kendi,

“The Very Heartbeat of Racism is Denial,” University of Rochester News Center

(Feb. 25, 2021)12 (“When people say they’re not racist, they’re sharing the words

that white supremacists use.”).

        Indeed, Sharif El-Mekki, Founder and CEO of the Center for Black Educator

Development, has declared that anyone who disagrees with AR theory is “unfit to

teach Black and brown children.” No, You Should Not Be Teaching Black

Children if You Reject Anti-Racism, EdPost (May 5, 2021).13 A white teacher

“who can’t see [her] own inherent racial biases against Black children,” he writes,

does not belong in a classroom with black students, because “a commitment to

anti-racism should be non-negotiable in our profession.” Id.

        This is not just the idiosyncratic view of some AR acolytes, but part of AR’s

essence. Research comparing the experiences of employees who attended training

sessions that taught color-blindness and those that taught “multicultural” theory

found that white employees “feel excluded” from the latter because it “focus[es]

exclusively on the recognition and appreciation of minority identities—as opposed



12
   https://www.rochester.edu/newscenter/ibram-x-kendi-the-very-heartbeat-of-
racism-is-denial-470332/.
13
   https://www.edpost.com/stories/no-you-should-not-be-teaching-black-children-
if-you-reject-anti-racism.
                                           14

     Appellate Case: 23-1374   Page: 22    Date Filed: 05/19/2023 Entry ID: 5279143
to unifying them under a single ‘American’ category.” Plaut, et al., “What About

Me?” Perceptions of Exclusion and Whites’ Reactions to Multiculturalism, 101 J.

Personality & Soc. Psych. 337, 339 (2011) (internal citation omitted). But AR is

even overtly hostile to the idea of a race-neutral American identity. Because it

perceives the mere absence of racism as itself racism, any white person who

objects to AR’s propositions—who denies, for instance, that the American

constitutional system is a white supremacist order—is either deemed a racist

deserving denunciation, or, at best, is instructed to practice “racial humility”—i.e.,

not to express her opinions. See DiAngelo, Nice Racism: How Progressive White

People Perpetuate Racial Harm 87 (2021).

        In fact, not only is expressing disagreement with AR ideology taken as proof

of that person’s racism, see generally McWhorter, The Dehumanizing

Condescension of White Fragility, The Atlantic (July 14, 2020),14 but even to

agree with “anti-racism” can be a form of racism, because that, too, shows

insufficient “humility” and “comes from a place of superiority and/or a desire to be

forgiven.” Morrison, Becoming Trustworthy White Allies, Reflections (Spring

2013)15; Reid, No More White Saviours, Thanks, The Guardian (Sept. 19, 2021).16


14
   https://www.theatlantic.com/ideas/archive/2020/07/dehumanizing-
condescension-white-fragility/614146/
15
   https://reflections.yale.edu/article/future-race/becoming-trustworthy-white-allies.
16
   https://www.theguardian.com/world/2021/sep/19/no-more-white-saviours-
thanks-how-to-be-a-true-anti-racist-ally.
                                          15

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Even for a white person to weep about an incident of racial injustice is considered a

racist act; it’s called “white tears.” See Loubriel, 4 Ways White People Can

Process Their Emotions Without Bringing the White Tears, Everyday Feminism

(Feb. 16, 2016).17

        This explains why, when Plaintiffs expressed disagreement with the “anti-

racist” theory at the training, they were told that they were “confused and wrong”

and “needed to work on [themselves]”—not merely that they had a different

opinion. Henderson, 2023 WL 170594, at **3, 5.

        Holding racist views is, of course, unacceptable, particularly in public

schools. Consequently, being labeled a racist constitutes one of the severest forms

of stigma possible. The sternness with which society treats alleged racists, even

without evidence of guilt, is so extreme that the average person is terrified of such

an accusation. Even under ordinary circumstances, such an allegation is rarely

disprovable. See, e.g., Jaschik, What You Can’t Win in Court, Inside Higher Ed.

(Nov. 16, 2008)18 (detailing effort by teacher falsely accused of racism to vindicate

his reputation). But AR theory considers it a racist act to even try to disprove it,

because attempting to deny one’s own racism constitutes proof of racism.




17
     https://everydayfeminism.com/2016/02/white-people-emotions-tears/.
18
     https://www.insidehighered.com/news/2008/11/17/what-you-cant-win-court.
                                           16

     Appellate Case: 23-1374   Page: 24    Date Filed: 05/19/2023 Entry ID: 5279143
        This makes the risk of a racism accusation a powerful weapon in today’s

culture, especially in the public-school workplace. Examples abound of teachers

falsely accused of racism being forced to apologize or being terminated. See, e.g.,

Flaherty, Failure to Communicate, Inside Higher Ed. (Sept. 7, 2020)19; Parks,

College Professor Claims He’s Being Fired for Asking Questions During Campus

Diversity Meeting, N.Y. Post (Jan. 17, 2023)20; Rosa, N.J. Teacher Suspended after

Calling George Floyd a “Criminal,” N.Y. Times (May 1, 2021)21; Babineau,

White Teacher in Texas Fired after Telling Students His Race is “The Superior

One,” CNN.com (Nov. 15, 2022).22 And that gives AR an extraordinary

propagandistic advantage.

        Propaganda rarely actually forces people to endorse views they disagree

with, because overt compulsion just stiffens people’s backbones. Propagandists

therefore seek instead to “set up psychological and emotional currents” which,

“[i]nstead of assaulting…resistance by direct attack…[find ways of]

removing…resistance [by]…swing[ing] emotional currents.” Bernays,

Propaganda 77 (Brooklyn: Ig Publishing, 2005) (1928). This is done through


19
   https://www.insidehighered.com/news/2020/09/08/professor-suspended-saying-
chinese-word-sounds-english-slur.
20
   https://nypost.com/2023/01/17/bakersfield-college-professor-says-hes-being-
fired-for-false-racism-allegations/.
21
   https://www.nytimes.com/2021/05/01/nyregion/zoom-teacher-racist.html.
22
   https://www.cnn.com/2022/11/15/us/texas-teacher-fired-race-
conversation/index.html.
                                          17

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pressures, vague intimidation, and the ever-present threat that disagreement or

refusal to conform will be treated as racism.

      This is central to the “chill” theory here because the law has long recognized

that there are forms of pressure short of force or fraud can still rise to the level of

compulsion. For example, in contract law, the principle of “undue influence”

refers to a situation in which a person is subjected to pressures that “‘overcome[]

the will without convincing the judgment.’” Rothberg v. Walt Disney Co., 168

F.3d 501 (9th Cir. 1999) (citation omitted). In the Establishment Clause context,

too, the Supreme Court has acknowledged that a constitutional injury “does not

depend upon any showing of direct governmental compulsion,” but can exist based

on the “indirect coercive pressure upon religious minorities to conform to the

prevailing officially approved religion.” Engel v. Vitale, 370 U.S. 421, 430–31

(1962).

      Freedom of speech is as much a fundamental right as religious liberty, and is

no less threatened by intimidation and pressure. That’s the entire reason why the

law recognizes the concept of a “chilling effect” in the first place—to cover

situations in which people are pressured into waiving their free speech rights.

Where an “implicit threat of punishment and intimidation” causes someone to fear

the consequences of speaking, she has experienced a First Amendment injury, even




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where there is “no indication” of “overt threats” of punishment for dissent. Speech

First, Inc. v. Schlissel, 939 F.3d 756, 765 (6th Cir. 2019).

      Tactics that employ what Engel called “indirect coercive pressure…to

conform,” 370 U.S. at 430, are effective because they maintain a veneer of

plausible deniability or voluntariness while nevertheless making clear to everyone

involved that dissent or refusal to participate will be penalized in some unspecified

manner. Even in totalitarian states, mandatory propaganda sessions for workers

are typically labeled “voluntary” in the sense that no immediate punishment will

flow from refusal to conform; but anyone who persists in disobedience will

eventually find herself called to account for “poor citizenship” or some other

vaguely defined offense. See, e.g., Medish, The Soviet Union 239 (3d ed. 1987)

(propaganda meetings were “held after quitting time making attendance voluntary.

But all patriotic citizens would still be expected to be present, and any unexcused

absence would not go unnoticed.”). Likewise mandatory AR sessions rely on peer

pressure, intimidation, and bullying to silence potential opposition through

“indirect coercive pressure[s],” Engel, 370 U.S. at 431, and “implicit threat[s]” of

ostracism and retaliation. Speech First, 939 F.3d at 765.

      True, public school administrators have discretion in how to operate a

school, and those in charge may prescribe curricula and require teachers to receive

certain types of professional training. See generally Parker v. Hurley, 514 F.3d 87


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(1st Cir. 2008). They may even prohibit certain types of classroom speech by

teachers. Urofsky, supra. What they may not do is “prescribe what shall be

orthodox,” W. Va. Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943), by using

personal and professional pressure to deprive people of their individual

constitutional rights.

         The District Court’s view that there couldn’t have been a chilling effect

because Plaintiffs faced no “identifiable threat of negative consequences” for

expressing their views is therefore blind to the reality of the situation. Henderson,

2023 WL 170594, at *6. The Plaintiffs were required to attend and participate in

the training, where they were instructed to “[a]cknowledge YOUR privileges,” and

“become Anti-Racist educators,”23 told that adopting AR was a job requirement,

see Appellants’ Opening Brief at 34–36, and where, when they objected, they were

told that they were wrong and unprofessional. They were subjected to peer

pressure from their colleagues in an environment where they were especially

sensitive to the risks of dissenting from the prescribed orthodoxy. Any reasonably

prudent person would have believed that expressing disagreement risked

professional retribution and social opprobrium. Dobbin & Kalev, supra at 51 (“By

mandating participation, employers send the message that employees need to

change, and the employer will require it…[and] that external government mandates


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     Complaint, R. Doc. 1 at 10 ¶¶ 53, 55.
                                             20

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are behind [the] training. These features may lead employees to think that

commitment to [AR] is being coerced.”).

         Here, a “person of ordinary prudence” would certainly have declined to

dissent from fear of retaliation. Garcia, 348 F.3d at 729. The fact that Plaintiffs

showed admirable fortitude in expressing at least some disagreement cannot

therefore be taken as proof that no chill existed. It was objectively reasonable for

them to fear that exercising their speech rights would result in negative

consequences.

II.      The attorney fee award is contrary to public policy.

         Even if that were not enough to warrant judgment in their favor, it does

make clear that Plaintiffs’ chilled speech claim has an “arguable basis in either law

or in fact,” Neitzke v. Williams, 490 U.S. 319, 325 (1989), and that the fee award is

unjustifiable. That award was premised on the idea that the Plaintiffs’ chilled

speech claims are frivolous. But a lawsuit is frivolous only where it has no

“arguable basis in either law or in fact.” Id. And as we have seen, Plaintiffs’

claims were not just arguable, but well-grounded. What’s more, the fee award is

contrary to public policy because by opposing AR, the Plaintiffs were acting

consistently with the principle of color-blindness that underlies federal civil rights

law. To penalize them for it would be perverse.




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        A.    The purpose of § 1988 is to encourage the rooting out of racist
              social institutions—of which AR is one instance.

        The policy behind the civil rights laws is “color-blindness”—that is, all

people should be treated equally regardless of skin color. As Judge Ho recently

reminded us, Thurgood Marshall argued in his brief in Brown v. Board of

Education “‘[t]hat the Constitution is color blind,’” Veasey v. Abbott, 13 F.4th 362,

379 (5th Cir. 2021) (Ho, J., concurring)—a term that, in fact, originated in Justice

Harlan’s Plessy v. Ferguson dissent, where he said that “[o]ur constitution is color-

blind, and neither knows nor tolerates classes among citizens….The law regards

man as man, and takes no account of his surroundings or of his color when his civil

rights as guaranteed by the supreme law of the land are involved.” 163 U.S. 537,

559 (1896) (Harlan, J., dissenting).

        The 1964 Civil Rights Act was intended to make good on that principle. See

Hi-Voltage Wire Works, Inc. v. City of San Jose, 12 P.3d 1068, 1075 (Cal. 2000)

(“Congress intended that the Act reflect Justice Harlan’s understanding of the

Constitution and ‘be “colorblind” in its application.’” (citation omitted)). The

policy of the United States is that people should be treated the same, without

regard to race.24


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   This policy is a wise one, both because treating people differently based on race
is “odious to a free people whose institutions are founded upon the doctrine of
equality,” Hirabayashi v. United States, 320 U.S. 81, 100 (1943), and because
discriminating between people on a racial basis leads to insoluble problems, such
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      Section 1988’s fee provision was designed to create an incentive for citizens

to enforce that policy, given that the federal government lacks the resources

necessary to crack down on all instances of wrongful discrimination. As the

Supreme Court explained in Newman, 390 U.S. at 402, color-blindness is “a policy

that Congress considered of the highest priority,” and consequently Section 1988

works in one direction but not the other: losing defendants must ordinarily pay

fees; losing plaintiffs only in frivolous cases. That asymmetry is meant to “giv[e]

the private plaintiff substantial incentives to sue.” Christiansburg Garment Co. v.

EEOC, 434 U.S. 412, 419 (1978).

      AR theory explicitly rejects the principle of color-blindness. Indeed, it

regards that principle as itself a form of racism. See Kendi, Antiracist, supra, at 11

(“The language of color blindness—like the language of ‘not racist’—is a mask to

hide when someone is being racist.”). Again, this is especially significant for

public-school employees. As El-Mekki, supra, asserts, “aspiring to




as: whose ancestors have suffered enough injustice to warrant special privileges
being given to their living descendants? How do we distinguish between
“privilege” and the hard-earned deserts of those who (and whose families) have
lifted themselves from poverty through admirable diligence? Why should the latter
be penalized, especially if their ancestors were not even present in the country
when others’ ancestors were harmed? What even constitutes a viable racial
category in the first place? See generally Bernstein, Classified: The Untold Story
of Racial Classification in America (2022) (documenting the arbitrariness of
government’s racial categorizations).
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‘colorblindness’ is disqualifying. Teachers are not fit to teach Black and brown

children if they fail to understand that colorblindness is erasure.”

        AR theory therefore does not prescribe treating people equally, but the exact

opposite: it exhorts people to treat others differently based on their race,

(ostensibly) to equalize outcomes. The Harvard Business Review, for example,

counsels businesses to award contracts based on a contractor’s race, and to give

raises and promotions to employees based on their race. See Livingston, How to

Promote Racial Equity in the Workplace, Harv. Bus. Rev. (2020).25 Schools are

encouraged to provide additional resources to students based on their color, and

even to grade them differently based on color. See, e.g., Arnesto, “The Future of

Grading is Antiracist,” The Faculty (Dec. 11, 2020)26 (“[T]here should be

purposeful discrimination when teachers grade students[.]”). AR educational

guidelines tell teachers that “objectivity,” “perfectionism,” and “individualism” are

forms of “white supremacy.” Edelman, et al., Richard Carranza Held “White-

Supremacy Culture” Training for School Admins, N.Y. Post (May 20, 2019).27 So

are punctuality, hard work, and “rational linear thinking,” according to the




25
   https://hbr.org/2020/09/how-to-promote-racial-equity-in-the-workplace.
26
   https://medium.com/the-faculty/the-future-of-grading-is-antiracist-
96d60f1fd432.
27
   https://nypost.com/2019/05/20/richard-carranza-held-doe-white-supremacy-
culture-training/.
                                          24

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Smithsonian. Talking About Race (June 2020 version).28 Teachers are therefore

told to “stop grading homework,” “welcome late work,” and “eliminate the zero,”

Safir & Dugan, 12 Tips for Antiracist Grading (Feb. 2021),29 and not to penalize

students for failing to complete assignments, or consider “factors that directly

measure students’ knowledge and skills in the content area” when assigning

grades. Soave, San Diego Public Schools Will Overhaul Its Grading System to

Achieve “Anti-Racism,” Reason (Oct. 19, 2020).30

        In other words, “anti-racism” is—notwithstanding its self-serving

euphemistic title—racism. It’s an argument that individuals should be treated

differently based on skin color; that the content of their minds is a consequence of

their biological ancestry, and that people should enjoy benefits or suffer burdens

based on what their forebears did. That’s exactly what Section 1988 was designed

to root out. This lawsuit is just what Section 1988 was written to encourage.

        The clash between AR and the civil rights laws is nothing new. In Coal. for

Econ. Equity v. Wilson, 122 F.3d 692, 709 (9th Cir. 1997), plaintiffs, who endorsed

an early version of AR, argued that the California Civil Rights Initiative—which



28

https://web.archive.org/web/20200601153458/https://nmaahc.si.edu/learn/talking-
about-race/topics/whiteness
29
   https://shanesafir.com/wp-content/uploads/2021/02/12-
Tips_ShaneSafir.vs2_.pdf.
30
   https://reason.com/2020/10/19/san-diego-public-schools-grades-antiracism/.
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prohibits discriminating against or in favor of people based on their race—was

unconstitutional because it “burden[ed]” those who think government should treat

people differently based on their race. Id. at 708. They claimed that the

Constitution mandates so-called benign racial discrimination, and cited cases in

which the Supreme Court allowed race-based remedies to redress past

discrimination. This, they claimed, proved that the Initiative’s color-blindness

requirement was unconstitutional. The Wilson court did not fall for that sophistry:

“The Fourteenth Amendment,” it said, “does not require what it barely permits.”

Id. at 709.

      In other words, what AR prescribes—i.e., treating people differently based

on race—are actions that, if undertaken by a public-school employee, would

almost certainly violate the civil rights laws, and which are contrary to some of this

country’s most cherished constitutional principles. For Plaintiffs to object to it was

therefore consistent with the “policy that Congress considered of the highest

priority,” Newman, 390 U.S. at 402, and for them to file suit over it was therefore

consistent with Section 1988. To penalize them for doing so is contrary to the

entire theory of that statute.

      B.      Courts should grant fees against unsuccessful plaintiffs only
              where they have engaged in misconduct.

      This Court has said that a prevailing defendant in a civil rights case is

entitled to attorney fees only on a “show[ing] that the evidence provided a basis for
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well-supported findings that the suit is frivolous, unfounded, and vexatiously

brought and pursued.” Davis v. City of Charleston, Mo., 917 F.2d 1502, 1505 (8th

Cir. 1990) (cleaned up). Or, as the Sixth Circuit has put it, “an award of attorney

fees against a losing plaintiff in a civil rights action is ‘an extreme sanction’ that

should be limited to ‘truly egregious cases of misconduct.’” Revis v. Meldrum,

489 F.3d 273, 292 (6th Cir. 2007) (citation omitted). There is no evidence of

misconduct on the part of Plaintiffs or their counsel, however. The award of fees

was therefore improper.

      Compare this case with Adem v. Jefferson Mem’l Hosp. Ass’n., No. 4:11-

CV-2102-JAR, 2013 WL 1351869 (E.D. Mo. Apr. 2, 2013). The plaintiff was a

physician who sued a hospital for revoking his privileges, on the grounds that this

was racially discriminatory. The court found that he had no contractual right to

those privileges in the first place. See 2012 WL 5493856, at *4 (Nov. 13, 2012).

Indeed, the hospital’s bylaws said that explicitly, and because he had no such right,

he could not have a cause of action. Id. Yet the District Court did not grant fees to

the prevailing defendant, because “[a]s long as the plaintiff has some basis for his

claim, a prevailing defendant may not recover attorneys’ fees.” 2013 WL

1351869, at *1. The defendant argued that it should have been obvious that the

plaintiff could not recover, but the court said that he had “‘brought [his] claim in




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good faith’” and had not committed any “‘egregious…misconduct.’” Id. at **2–3

(citations omitted).

      Or consider Biggs v. City of Maryland Heights, No. 4:20-cv-01499-JCH,

2022 WL 2045892 (E.D. Mo. June 7, 2022), in which the plaintiff sued a police

officer for forcing him to stop using a risky “rolling roadblock” procedure and

drawing his gun on the plaintiff. The court found the officer’s behavior

“objectively reasonable,” and concluded that he was shielded by qualified

immunity. See 2022 WL 1451670, at *7 (May 9, 2022). Yet the court refused to

award fees to the prevailing defendant, because “[a] civil rights litigant should not

be punished for pursuing a reasonable legal theory.” 2022 WL 2045892, at *3.

The case was not “vexatiously brought,” nor was there any other justification for

penalizing the plaintiff with a fee award. Id.

      The same reasoning applies here. The District Court made no findings that

the Plaintiffs here brought the case vexatiously or with any culpable lack of due

diligence. On the contrary, their claims are grounded in a reasonable application of

existing First Amendment precedent. The District Court’s only findings with

respect to “egregiousness” were that the case involved a “political dispute” and

that there was a “lack of a factual basis for any sort of First Amendment claim.”

See 2023 WL 2754902, at *2. As explained above, the latter assertion is incorrect;

it rested on the court’s erroneous belief that the lack of actual retaliation forecloses


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a “chill” claim, which it does not. As for the fact that the issue in question is

“political,” that does not prove the case “frivolous, unfounded, and vexatiously

brought and pursued.” Davis, 917 F.2d at 1505 (citation omitted). Many cases

have a political valence to them.

      What’s more, courts considering a fee award should be cognizant of the

effect it will have on plaintiffs acting in good faith to challenge the

constitutionality of government actions. The courts are the traditional forum for

adjudicating civil rights disputes, and imposing fee awards against unsuccessful

plaintiffs runs counter to the policy announced in Christiansburg Garment. As one

scholar puts it, “the primary goal of [attorney fees] is to force civil rights violators

to pay their victims’ fees, not to penalize innocent volunteers for engaging in

legitimate courtroom advocacy.” Goldberger, First Amendment Constraints on the

Award of Attorney’s Fees Against Civil Rights Defendant-Intervenors, 47 Ohio St.

L.J. 603, 604 (1986). To impose a crushing fee award on these Plaintiffs is

excessive punishment and likely to deter future civil rights litigation.

      The Arizona Court of Appeals recently remarked that “[w]here aggrieved

citizens, in good-faith, seek a determination of the legitimacy of governmental

actions, attorney’s fees should not usually be awarded. Courts exist to hear such

cases; we should encourage resolution of constitutional arguments in court rather

than on the streets.” Gilmore v. Gallego, No. 1 CA-CV 22-0049, 2023 WL


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2979302, at *9 (Ariz. App. Apr. 18, 2023) (citation omitted). The same reasoning

applies here. Plaintiffs brought this case in good faith and with legitimate cause.

They should not be penalized for petitioning the government for a redress of

grievances.

                                  CONCLUSION

      The District Court’s decision should be vacated.



Respectfully submitted this 18th day of May, 2023.

                                         /s/ Timothy Sandefur
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      This brief complies with the type-volume limitation of Fed. R. App. P.

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Date: May 18, 2023

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      I hereby certify that on May 18, 2024, I electronically filed the

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